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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


    In re                                                   Chapter 11
    The Hertz Corporation, et al.,1
                                                            Case No. 20-11218 (MFW)
                                          Debtors.
                                                            (Joint Administration Requested)




            DEBTORS’ APPLICATION FOR ENTRY OF AN ORDER APPOINTING
                PRIME CLERK LLC AS CLAIMS AND NOTICING AGENT

            The debtors and debtors in possession (collectively, the “Debtors,” and, together, with

their non-Debtor affiliates, the “Company”) file this application (the “Section 156(c)

Application”) for entry of an order, substantially in the form of Exhibit A hereto (the “Retention

Order”), pursuant to section 156(c) of title 28 of the United States Code, section 105(a) of title 11

of the United States Code (the “Bankruptcy Code”) and Rule 2002-1(f) of the Local Rules of

Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the District of

Delaware (the “Local Rules”), appointing Prime Clerk LLC (“Prime Clerk”) as claims and

noticing agent (“Claims and Noticing Agent”) in the Debtors’ Chapter 11 Cases effective as of

the Petition Date (as defined below). In support of the Section 156(c) Application, the Debtors

submit the Declaration of Benjamin J. Steele (the “Steele Declaration”), attached hereto as

Exhibit B, and the Declaration of Jamere Jackson in Support of Debtors’ Petitions and Certain




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          The last four digits of The Hertz Corporation’s tax identification number are 8568. The location of the
debtors’ service address is 8501 Williams Road, Estero, FL 33928. Due to the large number of debtors in these chapter
11 cases, for which joint administration for procedural purposes has been requested, a complete list of the debtors and
the last four digits of their federal tax identification numbers is not provided herein. A complete list of such
information may be obtained on the website of the debtors’ proposed claims and noticing agent at
https://restructuring.primeclerk.com/hertz.
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Requests for First Day Relief (the “First Day Declaration”)2 filed concurrently herewith. In

further support of the Section 156(c) Application, the Debtors, by and through their undersigned

counsel, respectfully state as follows:

                                     JURISDICTION AND VENUE

           1.    The Court has jurisdiction over this matter under 28 U.S.C. §§ 157 and 1334 and

the Amended Standing Order of Reference from the United States District Court for the District of

Delaware, dated February 29, 2012 (Sleet, C.J.). This is a core proceeding within the meaning of

28 U.S.C. § 157(b), and the Debtors confirm their consent pursuant to Local Rule 9013-1(f) to the

entry of a final order by the Court in connection with this Section 156(c) Application to the extent

that it is later determined that the Court, absent consent of the parties, cannot enter final orders or

judgments in connection herewith consistent with Article III of the United States Constitution.

Venue is proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

           2.    Pursuant to Rule 9013-1(f) of the Local Rules, the Debtors consent to the entry of

a final judgment or order with respect to this Section 156(c) Application if it is determined that

this Court lacks Article III jurisdiction to enter such final order or judgment absent consent of the

parties.

                                               BACKGROUND

           3.    On May 22, 2020 (the “Petition Date”), the Debtors each commenced with this

Court a voluntary case under chapter 11 of the Bankruptcy Code (collectively, the “Chapter 11

Cases”). The Debtors have filed a separate procedural motion requesting that the Chapter 11

Cases be jointly administered. The Debtors continue to operate their businesses and manage their

properties as debtors in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy


2
         Capitalized terms used and not otherwise defined herein shall have the meanings ascribed to them in the
First Day Declaration.

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Code. No creditors’ committee has been appointed by the Office of the United States Trustee for

the District of Delaware (the “U.S. Trustee”), nor has a trustee or examiner been appointed in

these Chapter 11 Cases.

       4.      The Company is a leading provider of vehicle rentals around the world, serving

customers under the Hertz, Dollar, Thrifty, and Firefly brands. The Company and its franchisees

operate a total of more than 10,000 locations across North America, Europe, Latin America,

Africa, Asia, Australia, the Caribbean, the Middle East and New Zealand. Hertz’s motto, “we’re

here to get you there,” reflects the Company’s fundamental function: to help its customers move

about and explore, whether close to home or on the other side of the globe.

       5.      In addition to their vehicle rental businesses, the Debtors offer leasing and fleet

management services in the United States and Canada through Debtor Donlen Corporation

(“Donlen”) and certain of its subsidiaries. Donlen provides a variety of fleet services to North

American companies that operate vehicle fleets of all different sizes, allowing customers to focus

on their core businesses while Donlen helps them achieve efficiencies in their fleet operations.

       6.      With air travel at record levels in 2018 and 2019, the Company was prospering. It

reported adjusted corporate EBITDA of $433 million and $649 million in those years, respectively,

and, through the end of 2019, achieved ten consecutive quarters of year-over-year revenue

growth. In March of 2020, however, the Company’s business was acutely impacted by reductions

in travel and restrictions on movement brought about by the coronavirus pandemic. Whether

voluntarily or by government mandate, the air travelers the Company serves largely stopped flying

and its local customers largely stopped driving. The effect on the Company’s revenue was

devastating.




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       7.      At the same time, the crisis subjected the Company to unanticipated demands on

its cash reserves. A sharp and unexpected reduction in used car values precipitated by the

coronavirus crisis burdened the Company with a substantial cash payment due April 27, 2020 in

connection with its primary U.S. rental fleet financing arrangement. The Company elected not to

consume its precious liquidity and did not make that payment. A short forbearance and waiver

period allowed the Company to reach accords with creditors in Europe and Australia on additional

temporary or permanent waivers. However, it failed to yield a longer-term solution with the

Company’s primary U.S. and Canadian creditor groups. Accordingly, the Debtors commenced

these Chapter 11 Cases with the goals of stabilizing their operations, assessing their options, and

charting a course for a strong future.

       8.      Additional background and information regarding the Company, including its

business operations, its corporate and capital structure, its restructuring activities, and the events

leading to the commencement of these Chapter 11 Cases, is set forth in detail in the First Day

Declaration.

                                     RELIEF REQUESTED

       9.      The Debtors request entry of an order appointing Prime Clerk as the Claims and

Noticing Agent for the Debtors and their Chapter 11 Cases, including assuming full responsibility

for the distribution of notices and the maintenance, processing and docketing of proofs of claim

filed in the Debtors’ Chapter 11 Cases. The Debtors’ selection of Prime Clerk to act as the Claims

and Noticing Agent has satisfied the Court’s Protocol for the Employment of Claims and Noticing

Agents under 28 U.S.C. § 156(c) (the “Claims Agent Protocol”), in that the Debtors have obtained

and reviewed engagement proposals from at least two other court-approved claims and noticing

agents to ensure selection through a competitive process. Moreover, the Debtors submit, based on

all engagement proposals obtained and reviewed, that Prime Clerk’s rates are competitive and

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reasonable given Prime Clerk’s quality of services and expertise. The terms of Prime Clerk’s

retention are set forth in the Engagement Agreement attached hereto as Exhibit C

(the “Engagement Agreement”); provided, however, that the Debtors are seeking approval solely

of the terms and provisions as set forth in this Section 156(c) Application and the proposed

Retention Order attached hereto.

       10.     Although the Debtors have not yet filed their schedules of assets and liabilities, they

anticipate that there will be in excess of 200 entities to be noticed. Local Rule 2002-1(f) provides

that “[i]n all cases with more than 200 creditors or parties in interest listed on the creditor matrix,

unless the Court orders otherwise, the debtor shall file [a] motion [to retain a claims and noticing

agent] on the first day of the case or within seven (7) days thereafter.” In view of the number of

anticipated claimants and the complexity of the Debtors’ businesses, the Debtors submit that the

appointment of a claims and noticing agent is required by Local Rule 2002-1(f) and is otherwise

in the best interests of both the Debtors’ estates and their creditors.

       11.     By separate application, the Debtors will seek authorization to retain and employ

Prime Clerk as administrative advisor in these Chapter 11 Cases pursuant to section 327(a) of the

Bankruptcy Code because the administration of these Chapter 11 Cases will require Prime Clerk

to perform duties outside the scope of 28 U.S.C. § 156(c).

                             PRIME CLERK’S QUALIFICATIONS

       12.     Prime Clerk is comprised of leading industry professionals with significant

experience in both the legal and administrative aspects of large, complex chapter 11 cases. Prime

Clerk’s professionals have experience in noticing, claims administration, solicitation, balloting and

facilitating other administrative aspects of chapter 11 cases and experience in matters of this size

and complexity. Prime Clerk’s professionals have acted as debtor’s counsel or official claims and

noticing agent in many large bankruptcy cases in this District and in other districts nationwide.

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Prime Clerk’s active and former cases include: Paddock Enterprises, LLC, No. 20-10028 (LSS)

(Bankr. D. Del); High Ridge Brands Co., No. 19-12689 (BLS) (Bankr. D. Del); Anna Holdings,

Inc., No. 19-12551 (CSS) (Bankr. D. Del); Bumble Bee Parent, Inc., No. 19-12502 (LSS) (Bankr.

D. Del); Arsenal Resources Development LLC, No. 19-12347 (BLS) (Bankr. D. Del); Destination

Maternity Corp., No. 19-12256 (BLS) (Bankr. D. Del.); Forever 21, Inc., No. 19-12122 (KG)

(Bankr. D. Del.); Deluxe Entertainment Services Group Inc., No. 19-23774 (RDD) (Bankr.

S.D.N.Y.); Purdue Pharma L.P., No. 19-23649 (RDD) (Bankr. S.D.N.Y.); Maxcom USA Telecom,

Inc., No. 19-23489 (RDD) (Bankr. S.D.N.Y.); Stearns Holdings LLC, No. 19-12226 (SCC)

(Bankr. S.D.N.Y.); Fusion Connect, Inc., No. 19-11811 (SMB) (Bankr. S.D.N.Y.); Aegerion

Pharmaceuticals, Inc., No. 19-11632 (MG) (Bankr. S.D.N.Y.); Sungard Availability Services

Capital, Inc., No. 19-22915 (RDD) (Bankr. S.D.N.Y.); New Cotai Holdings, LLC, No. 19-22911

(RDD) (Bankr. S.D.N.Y.); Payless Holdings LLC, No. 19-40883 (Bankr. E.D. Mo.); PG&E

Corporation, No. 19-30088 (DM) (Bankr. N.D. Cal.); PHI, Inc., No. 19-30923 (HDH) (Bankr.

N.D. Tex.); McDermott International, Inc., No. 20-30336 (DRJ) (Bankr. S.D. Tex.); and Alta Mesa

Resources, Inc., No. 19-35133 (MI) (Bankr. S.D. Tex.).

       13.     By appointing Prime Clerk as the Claims and Noticing Agent in these Chapter 11

Cases, the distribution of notices and the processing of claims will be expedited, and the Office of

the Clerk of the Bankruptcy Court (the “Clerk”) will be relieved of the administrative burden of

processing what may be an overwhelming number of claims.

                                SERVICES TO BE PROVIDED

       14.     This Section 156(c) Application pertains only to the work to be performed by Prime

Clerk under the Clerk’s delegation of duties permitted by 28 U.S.C. § 156(c) and Local Rule 2002-

1(f). Any work to be performed by Prime Clerk outside of this scope is not covered by this Section

156(c) Application or by any order granting approval hereof. Specifically, Prime Clerk will

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perform the following tasks in its role as Claims and Noticing Agent, as well as all quality control

relating thereto:

                a.     Prepare and serve required notices and documents in these Chapter 11 Cases
                       in accordance with the Bankruptcy Code and the Federal Rules of
                       Bankruptcy Procedure (the “Bankruptcy Rules”) in the form and manner
                       directed by the Debtors and/or the Court, including (i) notice of the
                       commencement of these Chapter 11 Cases and the initial meeting of
                       creditors under Bankruptcy Code § 341(a), (ii) notice of any claims bar date,
                       (iii) notices of transfers of claims, (iv) notices of objections to claims and
                       objections to transfers of claims, (v) notices of any hearings on a disclosure
                       statement and confirmation of the Debtors’ plan or plans of reorganization,
                       including under Bankruptcy Rule 3017(d), (vi) notice of the effective date
                       of any plan and (vii) all other notices, orders, pleadings, publications and
                       other documents as the Debtors or Court may deem necessary or appropriate
                       for an orderly administration of these Chapter 11 Cases;

                b.     Maintain an official copy of the Debtors’ schedules of assets and liabilities
                       and statements of financial affairs (collectively, the “Schedules”), listing
                       the Debtors’ known creditors and the amounts owed thereto;

                c.     Maintain (i) a list of all potential creditors, equity holders and other parties-
                       in-interest and (ii) a “core” mailing list consisting of all parties described in
                       Bankruptcy Rule 2002(i), (j) and (k) and those parties that have filed a
                       notice of appearance pursuant to Bankruptcy Rule 9010; update and make
                       said lists available upon request by a party-in-interest or the Clerk;

                d.     Furnish a notice to all potential creditors of the last date for filing proofs of
                       claim and a form for filing a proof of claim, after such notice and form are
                       approved by the Court, and notify said potential creditors of the existence,
                       amount and classification of their respective claims as set forth in the
                       Schedules, which may be effected by inclusion of such information (or the
                       lack thereof, in cases where the Schedules indicate no debt due to the subject
                       party) on a customized proof of claim form provided to potential creditors;

                e.     Maintain a post office box or address for the purpose of receiving claims
                       and returned mail, and process all mail received;

                f.     For all notices, motions, orders or other pleadings or documents served,
                       prepare and file or cause to be filed with the Clerk an affidavit or certificate
                       of service within seven (7) business days of service which includes (i) either
                       a copy of the notice served or the docket number(s) and title(s) of the
                       pleading(s) served, (ii) a list of persons to whom it was mailed (in
                       alphabetical order) with their addresses, (iii) the manner of service and (iv)
                       the date served;



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g.    Process all proofs of claim received, including those received by the Clerk,
      check said processing for accuracy and maintain the original proofs of claim
      in a secure area;

h.    Maintain the official claims register for each Debtor (collectively,
      the “Claims Registers”) on behalf of the Clerk; upon the Clerk’s request,
      provide the Clerk with certified, duplicate unofficial Claims Registers; and
      specify in the Claims Registers the following information for each claim
      docketed: (i) the claim number assigned, (ii) the date received, (iii) the name
      and address of the claimant and agent, if applicable, who filed the claim,
      (iv) the amount asserted, (v) the asserted classification(s) of the claim (e.g.,
      secured, unsecured, priority, etc.), (vi) the applicable Debtor and (vii) any
      disposition of the claim;

i.    Provide public access to the Claims Registers, including complete proofs of
      claim with attachments, if any, without charge;

j.    Implement necessary security measures to ensure the completeness and
      integrity of the Claims Registers and the safekeeping of the original claims;

k.    Record all transfers of claims and provide any notices of such transfers as
      required by Bankruptcy Rule 3001(e);

l.    Relocate, by messenger or overnight delivery, all of the court-filed proofs
      of claim to the offices of Prime Clerk, not less than weekly;

m.    Upon completion of the docketing process for all claims received to date for
      each case, turn over to the Clerk copies of the Claims Registers for the
      Clerk’s review (upon the Clerk’s request);

n.    Monitor the Court’s docket for all notices of appearance, address changes,
      and claims-related pleadings and orders filed and make necessary notations
      on and/or changes to the claims register and any service or mailing lists,
      including to identify and eliminate duplicative names and addresses from
      such lists;

o.    Identify and correct any incomplete or incorrect addresses in any mailing or
      service lists;

p.    Assist in the dissemination of information to the public and respond to
      requests for administrative information regarding these Chapter 11 Cases as
      directed by the Debtors or the Court, including through the use of a case
      website and/or call center;

q.    Monitor the Court’s docket in these Chapter 11 Cases and, when filings are
      made in error or containing errors, alert the filing party of such error and
      work with them to correct any such error;


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               r.      If these Chapter 11 Cases are converted to cases under chapter 7 of the
                       Bankruptcy Code, contact the Clerk’s office within three (3) days of notice
                       to Prime Clerk of entry of the order converting the cases;

               s.      Thirty (30) days prior to the close of these Chapter 11 Cases, to the extent
                       practicable, request that the Debtors submit to the Court a proposed order
                       dismissing Prime Clerk as Claims and Noticing Agent and terminating its
                       services in such capacity upon completion of its duties and responsibilities
                       and upon the closing of these Chapter 11 Cases;

               t.      Within seven (7) days of notice to Prime Clerk of entry of an order closing
                       these Chapter 11 Cases, provide to the Court the final version of the Claims
                       Registers as of the date immediately before the close of the Chapter 11
                       Cases; and

               u.      At the close of these Chapter 11 Cases, (i) box and transport all original
                       documents, in proper format, as provided by the Clerk’s office, to (A) the
                       Philadelphia Federal Records Center, 14700 Townsend Road, Philadelphia,
                       PA 19154-1096 or (B) any other location requested by the Clerk’s office;
                       and (ii) docket a completed SF-135 Form indicating the accession and
                       location numbers of the archived claims.

       15.     The Claims Registers shall be open to the public for examination without charge

during regular business hours and on a case-specific website maintained by Prime Clerk.

                             PROFESSIONAL COMPENSATION

       16.     The Debtors respectfully request that the undisputed fees and expenses incurred by

Prime Clerk in the performance of the above services be treated as administrative expenses of the

Debtors’ chapter 11 estates pursuant to 28 U.S.C. § 156(c) and section 503(b)(1)(A) of the

Bankruptcy Code and be paid in the ordinary course of business without further application to or

order of the Court. Prime Clerk agrees to maintain records of all services showing dates, categories

of services, fees charged and expenses incurred, and to serve monthly invoices on the Debtors, the

office of the United States Trustee, counsel for the Debtors, counsel for any official committee

monitoring the expenses of the Debtors and any party-in-interest who specifically requests service

of the monthly invoices. If any dispute arises relating to the Engagement Agreement or monthly




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invoices, the parties shall meet and confer in an attempt to resolve the dispute; if resolution is not

achieved, the parties may seek resolution of the matter from the Court.

       17.     Prior to the Petition Date, the Debtors provided Prime Clerk an advance in the

amount of $75,000. Prime Clerk seeks to first apply the advance to all prepetition invoices, and

thereafter, to have the advance replenished to the original advance amount, and thereafter, to hold

the advance under the Engagement Agreement during these Chapter 11 Cases as security for the

payment of fees and expenses incurred under the Engagement Agreement.

       18.     Additionally, under the terms of the Engagement Agreement, the Debtors have

agreed to indemnify, defend and hold harmless Prime Clerk and its members, officers, employees,

representatives and agents under certain circumstances specified in the Engagement Agreement,

except in circumstances resulting solely from Prime Clerk’s gross negligence or willful

misconduct or as otherwise provided in the Engagement Agreement or Retention Order. The

Debtors believe that such an indemnification obligation is customary, reasonable and necessary to

retain the services of a Claims and Noticing Agent in these Chapter 11 Cases.

                                     DISINTERESTEDNESS

       19.     Although the Debtors do not propose to employ Prime Clerk under section 327 of

the Bankruptcy Code pursuant to this Section 156(c) Application (such retention will be sought by

separate application), Prime Clerk has nonetheless reviewed its electronic database to determine

whether it has any relationships with the creditors and parties in interest provided by the Debtors,

and, to the best of the Debtors’ knowledge, information, and belief, and except as disclosed in the

Steele Declaration, Prime Clerk has represented that it neither holds nor represents any interest

materially adverse to the Debtors’ estates in connection with any matter on which it would be

employed.



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       20.     Moreover, in connection with its retention as Claims and Noticing Agent, Prime

Clerk represents in the Steele Declaration, among other things, that:

               a.     Prime Clerk is not a creditor of the Debtors;

               b.     Prime Clerk will not consider itself employed by the United States
                      government and shall not seek any compensation from the United States
                      government in its capacity as the Claims and Noticing Agent in these
                      Chapter 11 Cases;

               c.     By accepting employment in these Chapter 11 Cases, Prime Clerk waives
                      any rights to receive compensation from the United States government in
                      connection with these Chapter 11 Cases;

               d.     In its capacity as the Claims and Noticing Agent in these Chapter 11 Cases,
                      Prime Clerk will not be an agent of the United States and will not act on
                      behalf of the United States;

               e.     Prime Clerk will not employ any past or present employees of the Debtors
                      in connection with its work as the Claims and Noticing Agent in these
                      Chapter 11 Cases;

               f.     Prime Clerk is a “disinterested person” as that term is defined in section
                      101(14) of the Bankruptcy Code with respect to the matters upon which it
                      is to be engaged;

               g.     In its capacity as Claims and Noticing Agent in these Chapter 11 Cases,
                      Prime Clerk will not intentionally misrepresent any fact to any person;

               h.     Prime Clerk shall be under the supervision and control of the Clerk’s office
                      with respect to the receipt and recordation of claims and claim transfers;

               i.     Prime Clerk will comply with all requests of the Clerk’s office and the
                      guidelines promulgated by the Judicial Conference of the United States for
                      the implementation of 28 U.S.C. § 156(c); and

               j.     None of the services provided by Prime Clerk as Claims and Noticing Agent
                      in these Chapter 11 Cases shall be at the expense of the Clerk’s office.

       Prime Clerk will supplement its disclosure to the Court if any facts or circumstances are

discovered that would require such additional disclosure.




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         COMPLIANCE WITH CLAIMS AND NOTICING AGENT PROTOCOL

       21.     This Section 156(c) Application complies with the Claims Agent Protocol and

substantially conforms to the standard Section 156(c) Application in use in this Court. To the

extent that there is any inconsistency between this Section 156(c) Application, the Retention Order

and the Engagement Agreement, the Retention Order shall govern.

                 WAIVER OF BANKRUPTCY RULES 6004(a) AND 6004(h)

       22.     To implement the foregoing successfully, and given the nature of the relief

requested herein, the Debtors respectfully request a finding that (x) the notice requirements under

Bankruptcy Rule 6004(a) are met and (y) the 14-day stay under Bankruptcy Rule 6004(h) is

waived. Such waiver is warranted here because a claims and noticing agent is essential to prevent

potentially irreparable harm to the Debtors’ business, value, and ability to reorganize.

                                              NOTICE

       23.     Notice of this Section 156(c) Application has been provided to the following

parties, or, in lieu thereof, their counsel: (i) the U.S. Trustee; (ii) the U.S. Notes Agent; (iii) the

Senior Credit Agreement Agent; (iv) the administrative agent under the ALOC Facility; (v) the

successor trustee under the Promissory Notes; (vi) the U.S. ABS Agent; (vii) the indenture trustee

under the HFLF ABS Notes; (viii) the administrative agent and collateral agent under the U.S.

Vehicle RCF; (ix) the indenture trustee under the European Vehicle Notes; (x) the administrative

agent and collateral agent under the European ABS Notes; (xi) the indenture trustee and collateral

agent under the Hertz Canadian Securitization Notes; (xii) the lender under the Donlen Canada

Securitization Program; (xiii) the administrative agent and the security trustee under the Australian

Securitization Notes; (xiv) the lender under the New Zealand RCF; (xv) the lender under the U.K.

Financing Facility; (xvi) holders of the fifty (50) largest unsecured claims against the Debtors (on

a consolidated basis); (xvii) the Internal Revenue Service; (xviii) the Securities and Exchange

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Commission; (xix) the United States Attorney for the District of Delaware; (xx) any such other

party entitled to notice pursuant to Local Rule 9013-1(m); (xxi) the state attorneys general for all

states in which the Debtors conduct business; and (xxii) any such other party entitled to receive

notice pursuant to Bankruptcy Rule 2002. The Debtors submit that, in view of the facts and

circumstances, such notice is sufficient and no other or further notice need be provided.




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       WHEREFORE, the Debtors respectfully request entry of an order, substantially in the form

attached hereto as Exhibit A, authorizing Prime Clerk to act as Claims and Noticing Agent for the

Debtors and granting such other relief as may be appropriate.

 Dated: May 24, 2020                         The Hertz Corporation


                                             /s/ Jamere Jackson
                                             Jamere Jackson
                                             Executive Vice President and Chief Financial Officer




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                      Exhibit A

               Proposed Retention Order
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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


    In re                                                          Chapter 11

    The Hertz Corporation, et al.,1                                Case No. 20-11218 (MFW)

                                          Debtors.                 (Joint Administration Requested)

                                                                   Re: Docket No. ____



                             ORDER APPOINTING PRIME CLERK LLC
                               AS CLAIMS AND NOTICING AGENT

            Upon the application (the “Section 156(c) Application”) of the above-captioned debtors

and debtors in possession (collectively, the “Debtors”) for retention and appointment of Prime

Clerk LLC (“Prime Clerk”) as claims and noticing agent (“Claims and Noticing Agent”)

pursuant to 28 U.S.C. § 156(c), section 105(a) of the Bankruptcy Code2 and Local Rule 2002-1(f)

to, among other things, (i) distribute required notices to parties in interest, (ii) receive, maintain,

docket and otherwise administer the proofs of claim filed in the Debtors’ Chapter 11 Cases and

(iii) provide such other administrative services – as required by the Debtors – that would fall within

the purview of services to be provided by the Clerk’s office; and upon the Steele Declaration

submitted in support of the Section 156(c) Application; and the Debtors having estimated that there

are in excess of 200 creditors in these Chapter 11 Cases, many of which are expected to file proofs

of claim; and it appearing that the receiving, docketing and maintaining of proofs of claim would



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          The last four digits of The Hertz Corporation’s tax identification number are 8568. The location of the
debtors’ service address is 8501 Williams Road, Estero, FL 33928. Due to the large number of debtors in these chapter
11 cases, for which joint administration for procedural purposes has been requested, a complete list of the debtors and
the last four digits of their federal tax identification numbers is not provided herein. A complete list of such
information may be obtained on the website of the debtors’ proposed claims and noticing agent at
https://restructuring.primeclerk.com/hertz.
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          Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such terms in
the Section 156(c) Application.
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be unduly time consuming and burdensome for the Clerk; and the Court being authorized under

28 U.S.C. § 156(c) to utilize, at the Debtors’ expense, outside agents and facilities to provide

notices to parties in title 11 cases and to receive, docket, maintain, photocopy and transmit proofs

of claim; and the Court being satisfied that Prime Clerk has the capability and experience to

provide such services and that Prime Clerk does not hold an interest adverse to the Debtors or the

estates respecting the matters upon which it is to be engaged; and good and sufficient notice of the

Section 156(c) Application having been given and no other or further notice being required; and it

appearing that the employment of Prime Clerk is in the best interests of the Debtors, their estates

and creditors; and sufficient cause appearing therefor;

       IT IS HEREBY ORDERED THAT:

       1.      Notwithstanding the terms of the Engagement Agreement attached to the Section

156(c) Application, the Section 156(c) Application is approved solely as set forth in this Order.

       2.      The Debtors are authorized to retain Prime Clerk as Claims and Noticing Agent

effective as of the Petition Date under the terms of the Engagement Agreement, and Prime Clerk

is authorized and directed to perform noticing services and to receive, maintain, record and

otherwise administer the proofs of claim filed in these Chapter 11 Cases, and all related tasks, all

as described in the Section 156(c) Application.

       3.      Prime Clerk shall serve as the custodian of court records and shall be designated as

the authorized repository for all proofs of claim filed in these Chapter 11 Cases and is authorized

and directed to maintain official claims registers for each of the Debtors, to provide public access

to every proof of claim unless otherwise ordered by the Court and to provide the Clerk with a

certified duplicate thereof upon the request of the Clerk.




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       4.      Prime Clerk is authorized and directed to provide an electronic interface for filing

proofs of claim and to obtain a post office box or address for the receipt of proofs of claim.

       5.      Prime Clerk is authorized to take such other action to comply with all duties set

forth in the Section 156(c) Application.

       6.      The Debtors are authorized to compensate Prime Clerk in accordance with the

terms of the Engagement Agreement upon the receipt of reasonably detailed invoices setting forth

the services provided by Prime Clerk and the rates charged for each, and to reimburse Prime Clerk

for all reasonable and necessary expenses it may incur, upon the presentation of appropriate

documentation, without the need for Prime Clerk to file fee applications or otherwise seek Court

approval for the compensation of its services and reimbursement of its expenses.

       7.      Prime Clerk shall maintain records of all services showing dates, categories of

services, fees charged and expenses incurred, and shall serve monthly invoices on the Debtors, the

office of the United States Trustee, counsel for the Debtors, counsel for any official committee

monitoring the expenses of the Debtors and any party-in-interest who specifically requests service

of the monthly invoices.

       8.      The parties shall meet and confer in an attempt to resolve any dispute which may

arise relating to the Engagement Agreement or monthly invoices; provided that the parties may

seek resolution of the matter from the Court if resolution is not achieved.

       9.      Pursuant to section 503(b)(1)(A) of the Bankruptcy Code, the fees and expenses of

Prime Clerk under this Order shall be an administrative expense of the Debtors’ estates.

       10.     Prime Clerk may apply its advance to all prepetition invoices, which advance shall

be replenished to the original advance amount, and thereafter, Prime Clerk may hold its advance




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under the Engagement Agreement during the Chapter 11 Cases as security for the payment of fees

and expenses incurred under the Engagement Agreement.

       11.     The Debtors shall indemnify Prime Clerk under the terms of the Engagement

Agreement, as modified pursuant to this Order.

       12.     Prime Clerk shall not be entitled to indemnification, contribution or reimbursement

pursuant to the Engagement Agreement for services other than the services provided under the

Engagement Agreement, unless such services and the indemnification, contribution or

reimbursement therefor are approved by the Court.

       13.     Notwithstanding anything to the contrary in the Engagement Agreement, the

Debtors shall have no obligation to indemnify Prime Clerk, or provide contribution or

reimbursement to Prime Clerk, for any claim or expense that is either: (i) judicially determined

(the determination having become final) to have arisen from Prime Clerk’s gross negligence,

willful misconduct or fraud; (ii) for a contractual dispute in which the Debtors allege the breach of

Prime Clerk’s contractual obligations if the Court determines that indemnification, contribution or

reimbursement would not be permissible pursuant to In re United Artists Theatre Co., 315 F.3d

217 (3d Cir. 2003); or (iii) settled prior to a judicial determination under (i) or (ii), but determined

by this Court, after notice and a hearing, to be a claim or expense for which Prime Clerk should

not receive indemnity, contribution or reimbursement under the terms of the Engagement

Agreement as modified by this Order.

       14.     If, before the earlier of (i) the entry of an order confirming a chapter 11 plan in

these Chapter 11 Cases (that order having become a final order no longer subject to appeal), or

(ii) the entry of an order closing these Chapter 11 Cases, Prime Clerk believes that it is entitled to

the payment of any amounts by the Debtors on account of the Debtors’ indemnification,



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contribution and/or reimbursement obligations under the Engagement Agreement (as modified by

this Order), including the advancement of defense costs, Prime Clerk must file an application

therefor in this Court, and the Debtors may not pay any such amounts to Prime Clerk before the

entry of an order by this Court approving the payment. This paragraph is intended only to specify

the period of time under which the Court shall have jurisdiction over any request for fees and

expenses by Prime Clerk for indemnification, contribution or reimbursement, and not a provision

limiting the duration of the Debtors’ obligation to indemnify Prime Clerk. All parties in interest

shall retain the right to object to any demand by Prime Clerk for indemnification, contribution or

reimbursement.

       15.     During the pendency of these Chapter 11 Cases, the late charge set forth in

paragraph 2(c) of the Engagement Agreement shall be of no force or effect.

       16.     Notwithstanding anything to the contrary in the Engagement Agreement, including

paragraph 6 thereof, by this Order the Court is not authorizing Prime Clerk to establish accounts

with financial institutions on behalf of the Debtors.

       17.     The limitation of liability section in paragraph 10 of the Engagement Agreement is

deemed to be of no force or effect with respect to the services to be provided pursuant to this Order.

       18.     In the event Prime Clerk is unable to provide the services set out in this Order,

Prime Clerk will immediately notify the Clerk and the Debtors’ attorney and, upon approval of the

Court, cause to have all original proofs of claim and computer information turned over to another

claims and noticing agent with the advice and consent of the Clerk and the Debtors’ counsel.

       19.     The Debtors may submit a separate retention application, pursuant to 11 U.S.C.

§ 327 and/or any applicable law, for work that is to be performed by Prime Clerk but is not

specifically authorized by this Order.



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         20.    The Debtors and Prime Clerk are authorized to take all actions necessary to

effectuate the relief granted pursuant to this Order in accordance with the Section 156(c)

Application.

         21.    Notwithstanding any term in the Engagement Agreement to the contrary, the Court

retains jurisdiction with respect to all matters arising from or related to the implementation of this

Order.

         22.    Notwithstanding any provision in the Bankruptcy Rules to the contrary, this Order

shall be immediately effective and enforceable upon its entry.

         23.    Prime Clerk shall not cease providing claims processing services during the Chapter

11 Cases for any reason, including nonpayment, without an order of the Court.

         24.    In the event of any inconsistency between the Engagement Agreement, the Section

156(c) Application, and the Order, the Order shall govern.

Dated: _____________, 2020

         Wilmington, Delaware

                                               ___________________________________
                                               UNITED STATES BANKRUPTCY JUDGE




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                        Exhibit B

                    Steele Declaration
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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


    In re                                                          Chapter 11

    The Hertz Corporation, et al.,1                                Case No. 20-11218 (MFW)

                                          Debtors.                 (Joint Administration Requested)

                                                                   Re: Docket No. _____



               DECLARATION OF BENJAMIN J. STEELE IN SUPPORT OF
            DEBTORS’ APPLICATION FOR ENTRY OF AN ORDER APPOINTING
                PRIME CLERK LLC AS CLAIMS AND NOTICING AGENT

            I, Benjamin J. Steele, under penalty of perjury, declare as follows:

            1.     I am a Vice President of Prime Clerk LLC (“Prime Clerk”), a chapter 11

administrative services firm whose headquarters are located at One Grand Central Place, 60 East

42nd Street, Suite 1440, New York, New York 10165. Except as otherwise noted, I have personal

knowledge of the matters set forth herein, and if called and sworn as a witness, I could and would

testify competently thereto.

            2.     This Declaration is made in support of the above-captioned debtors’ (collectively,

the “Debtors”) Application for Entry of an Order Appointing Prime Clerk LLC as Claims and

Noticing Agent, which was filed contemporaneously herewith (the “Section 156(c)

Application”).2




1
          The last four digits of The Hertz Corporation’s tax identification number are 8568. The location of the
debtors’ service address is 8501 Williams Road, Estero, FL 33928. Due to the large number of debtors in these chapter
11 cases, for which joint administration for procedural purposes has been requested, a complete list of the debtors and
the last four digits of their federal tax identification numbers is not provided herein. A complete list of such
information may be obtained on the website of the debtors’ proposed claims and noticing agent at
https://restructuring.primeclerk.com/hertz.
2
          Capitalized terms used but not otherwise defined herein shall have the meanings set forth in the Section
156(c) Application.
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       3.      Prime Clerk is comprised of leading industry professionals with significant

experience in both the legal and administrative aspects of large, complex chapter 11 cases. Prime

Clerk’s professionals have experience in noticing, claims administration, solicitation, balloting and

facilitating other administrative aspects of chapter 11 cases and experience in matters of this size

and complexity. Prime Clerk’s professionals have acted as debtor’s counsel or official claims and

noticing agent in many large bankruptcy cases in this District and in other districts nationwide.

Prime Clerk’s active and former cases include: Paddock Enterprises, LLC, No. 20-10028 (LSS)

(Bankr. D. Del); High Ridge Brands Co., No. 19-12689 (BLS) (Bankr. De. Del); Anna Holdings,

Inc., No. 19-12551 (CSS) (Bankr. D. Del); Bumble Bee Parent, Inc., No. 19-12502 (LSS) (Bankr.

D. Del); Arsenal Resources Development LLC, No. 19-12347 (BLS) (Bankr. D. Del); Destination

Maternity Corp., No. 19-12256 (BLS) (Bankr. D. Del.); Forever 21, Inc., No. 19-12122 (KG)

(Bankr. D. Del.); Deluxe Entertainment Services Group Inc., No. 19-23774 (RDD) (Bankr.

S.D.N.Y.); Purdue Pharma L.P., No. 19-23649 (RDD) (Bankr. S.D.N.Y.); Maxcom USA Telecom,

Inc., No. 19-23489 (RDD) (Bankr. S.D.N.Y.); Stearns Holdings LLC, No. 19-12226 (SCC)

(Bankr. S.D.N.Y.); Fusion Connect, Inc., No. 19-11811 (SMB) (Bankr. S.D.N.Y.); Aegerion

Pharmaceuticals, Inc., No. 19-11632 (MG) (Bankr. S.D.N.Y.); Sungard Availability Services

Capital, Inc., No. 19-22915 (RDD) (Bankr. S.D.N.Y.); New Cotai Holdings, LLC, No. 19-22911

(RDD) (Bankr. S.D.N.Y.); Payless Holdings LLC, No. 19-40883 (Bankr. E.D. Mo.); PG&E

Corporation, No. 19-30088 (DM) (Bankr. N.D. Cal.); PHI, Inc., No. 19-30923 (HDH) (Bankr.

N.D. Tex.); McDermott International, Inc., No. 20-30336 (DRJ) (Bankr. S.D. Tex.); Alta Mesa

Resources, Inc., No. 19-35133 (MI) (Bankr. S.D. Tex.).

       4.      As agent and custodian of Court records pursuant to 28 U.S.C. § 156(c), Prime

Clerk will perform, at the request of the Office of the Clerk of the Bankruptcy Court (the “Clerk”),



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the services specified in the Section 156(c) Application and the Engagement Agreement, and, at

the Debtors’ request, any related administrative, technical and support services as specified in the

Section 156(c) Application and the Engagement Agreement. In performing such services, Prime

Clerk will charge the Debtors the rates set forth in the Engagement Agreement, which is attached

as Exhibit C to the Section 156(c) Application.

       5.      Prime Clerk represents, among other things, the following:

               a.      Prime Clerk is not a creditor of the Debtors;

               b.      Prime Clerk will not consider itself employed by the United States
                       government and shall not seek any compensation from the United States
                       government in its capacity as the Claims and Noticing Agent in these
                       Chapter 11 Cases;

               c.      By accepting employment in these chapter 11 cases, Prime Clerk waives
                       any rights to receive compensation from the United States government in
                       connection with these Chapter 11 Cases;

               d.      In its capacity as the Claims and Noticing Agent in these chapter 11 cases,
                       Prime Clerk will not be an agent of the United States and will not act on
                       behalf of the United States;

               e.      Prime Clerk will not employ any past or present employees of the Debtors
                       in connection with its work as the Claims and Noticing Agent in these
                       Chapter 11 Cases;

               f.      Prime Clerk is a “disinterested person” as that term is defined in section
                       101(14) of the Bankruptcy Code with respect to the matters upon which it
                       is to be engaged;

               g.      In its capacity as Claims and Noticing Agent in these Chapter 11 Cases,
                       Prime Clerk will not intentionally misrepresent any fact to any person;

               h.      Prime Clerk shall be under the supervision and control of the Clerk’s office
                       with respect to the receipt and recordation of claims and claim transfers;

               i.      Prime Clerk will comply with all requests of the Clerk’s office and the
                       guidelines promulgated by the Judicial Conference of the United States for
                       the implementation of 28 U.S.C. § 156(c); and

               j.      None of the services provided by Prime Clerk as Claims and Noticing Agent
                       in these Chapter 11 Cases shall be at the expense of the Clerk’s office.


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       6.      To the best of my knowledge, and based solely upon information provided to me

by the Debtors, and except as provided herein, neither Prime Clerk, nor any of its professionals,

has any materially adverse connection to the Debtors, their creditors or other relevant

parties. Prime Clerk may have relationships with certain of the Debtors’ creditors as vendors or

in connection with cases in which Prime Clerk serves or has served in a neutral capacity as claims

and noticing agent and/or administrative advisor for another chapter 11 debtor.

       7.      Prime Clerk has reviewed its electronic database to determine whether it has any

relationships with the list of entities provided by the Debtors. Based on the results of such search,

at this time, Prime Clerk is not aware of any relationship that would present a disqualifying conflict

of interest. Should Prime Clerk discover any new relevant facts or relationships bearing on the

matters described herein during the period of its retention, Prime Clerk will use reasonable efforts

to promptly file a supplemental declaration.

       8.      Certain of Prime Clerk’s professionals were partners of or formerly employed by

firms that are providing or may provide professional services to parties in interest in these cases.

Such firms include Kirkland & Ellis LLP; Weil, Gotshal & Manges LLP; O’Melveny & Myers

LLP; Mayer Brown LLP; Fried, Frank, Harris, Shriver & Jacobson LLP; Bracewell LLP;

Proskauer Rose LLP; Curtis, Mallet-Prevost, Colt & Mosle LLP; Baker & Hostetler LLP; Togut,

Segal & Segal LLP; Gibson, Dunn & Crutcher LLP; Willkie Farr & Gallagher LLP; Centerview

Partners LLC; KPMG LLP; PricewaterhouseCoopers LLP; Epiq Bankruptcy Solutions, LLC;

Donlin, Recano & Company, Inc. and Kurtzman Carson Consultants LLC. Except as may be

disclosed herein, these professionals did not work on any matters involving the Debtors while

employed by their previous firms. Moreover, these professionals were not employed by their

previous firms when these Chapter 11 Cases were filed.



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       9.      Prime Clerk is an indirect subsidiary of Duff & Phelps LLP (“D&P”). D&P is the

global advisor that protects, restores and maximizes value for clients. Within the D&P corporate

structure, Prime Clerk operates independently from D&P. As such, any relationships that D&P

and its affiliates maintain do not create an interest of Prime Clerk that is materially adverse to the

Debtors’ estates or any class of creditors or security holders.

       10.     Prime Clerk, as well as its personnel, has and will continue to have relationships

personally or in the ordinary course of business with certain vendors, professionals, financial

institutions, and other parties in interest that may be involved in the Debtors’ Chapter 11 Cases.

Prime Clerk may also provide professional services to entities or persons that may be creditors or

parties in interest in these Chapter 11 Cases, which services do not directly relate to, or have any

direct connection with, these Chapter 11 Cases or the Debtors.

       11.     Prime Clerk, and its personnel in their individual capacities, regularly utilize the

services of law firms, investment banking and advisory firms, accounting firms and financial

advisors. Such firms engaged by Prime Clerk or its personnel may appear in Chapter 11 Cases

representing the Debtors or parties in interest. All engagements where such firms represent Prime

Clerk or its personnel in their individual capacities are unrelated to these Chapter 11 Cases.

       12.     Based on the foregoing, I believe that Prime Clerk is a “disinterested person” as

that term is defined in section 101(14) of the Bankruptcy Code with respect to the matters upon

which it is to be engaged. Moreover, to the best of my knowledge and belief, neither Prime Clerk

nor any of its partners or employees hold or represent any interest materially adverse to the

Debtors’ estates with respect to any matter upon which Prime Clerk is to be engaged.




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       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct to the best of my information, knowledge and belief.

 Executed on May 23, 2020


                                      /s/ Benjamin J. Steele
                                      Benjamin J. Steele
                                      Vice President
                                      Prime Clerk LLC
                                      One Grand Central Place
                                      60 East 42nd Street, Suite 1440
                                      New York, New York 10165




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                      Exhibit C

                Engagement Agreement
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                                Prime Clerk LLC Engagement Agreement

This Agreement is entered into as of April 29, 2020 between Prime Clerk LLC (“Prime Clerk”) and The
Hertz Corporation (together with its affiliates and subsidiaries, the “Company”).

In consideration of the promises set forth herein and other good and valuable consideration, the receipt
and sufficiency of which are hereby acknowledged, the parties hereto agree as follows:

1. Services

        (a) Prime Clerk agrees to provide the Company with consulting services regarding legal noticing,
            claims management and reconciliation, plan solicitation, balloting, disbursements,
            preparation of schedules of assets and liabilities and statements of financial affairs,
            communications, confidential online workspaces or data rooms (publication to which shall not
            violate the confidentiality provisions of this Agreement) and any other services agreed upon
            by the parties or otherwise required by applicable law, governmental regulations or court
            rules or orders (all such services collectively, the “Services”).
        (b) The Company acknowledges and agrees that Prime Clerk will often take direction from the
            Company’s representatives, employees, agents and/or professionals (collectively,
            the “Company Parties”) with respect to providing Services hereunder. The parties agree that
            Prime Clerk may rely upon, and the Company agrees to be bound by, any requests, advice or
            information provided by the Company Parties to the same extent as if such requests, advice
            or information were provided by the Company.
        (c) The Company agrees and understands that Prime Clerk shall not provide the Company or any
            other party with legal advice.

2. Rates, Expenses and Payment

        (a) Prime Clerk will provide the Services on an as-needed basis and upon request or agreement of
            the Company, in each case in accordance with the rate structure attached hereto and
            incorporated by reference herein (the “Rate Structure”); provided, however that Prime Clerk
            will provide a discount of 15% off the attached hourly rates. The Company agrees to pay for
            reasonable out of pocket expenses incurred by Prime Clerk in connection with providing
            Services hereunder.
        (b) The Rate Structure sets forth individual unit pricing for each of the Services. The Company
            may request separate Services or all of the Services.
        (c) Prime Clerk will bill the Company no less frequently than monthly. All invoices shall be due
            and payable upon receipt. Where an expense or group of expenses to be incurred is expected
            to exceed $10,000 (e.g., publication notice), Prime Clerk may require advance or direct
            payment from the Company before the performance of Services hereunder. If any amount is
            unpaid as of 30 days after delivery of an invoice, the Company agrees to pay a late charge
            equal to 1.5% of the total amount unpaid every 30 days.
        (d) In case of a good faith dispute with respect to an invoice amount, the Company shall provide
            a detailed written notice of such dispute to Prime Clerk within 10 days of receipt of the
            invoice. The undisputed portion of the invoice will remain due and payable immediately upon
            receipt thereof. Late charges shall not accrue on any amounts disputed in good faith.
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        (e) The Company shall pay any fees and expenses for Services relating to, arising out of or
            resulting from any error or omission made by the Company or the Company Parties.
        (f) The Company shall pay or reimburse any taxes that are applicable to Services performed
            hereunder or that are measured by payments made hereunder and are required to be
            collected by Prime Clerk or paid by Prime Clerk to a taxing authority.
        (g) Upon execution of this Agreement, the Company shall pay Prime Clerk an advance of $75,000.
            Prime Clerk may use such advance against unpaid fees and expenses hereunder. Prime Clerk
            may use the advance against all prepetition fees and expenses, which advance then shall be
            replenished immediately by the Company to the original advance amount; thereafter, Prime
            Clerk may hold such advance to apply against unpaid fees and expenses hereunder.
        (h) Prime Clerk reserves the right to make reasonable increases to the Rate Structure on an
            annual basis effective on the first business day of each year. If such annual increases
            represent an increase greater than 10% from the previous year’s levels, Prime Clerk shall
            provide 30 days’ notice to the Company of such increases.

3. Retention in Bankruptcy Case

        (a) If the Company commences a case pursuant to title 11 of the United States Code
            (the “Bankruptcy Code”), the Company promptly shall file applications with the Bankruptcy
            Court to retain Prime Clerk (i) as claims and noticing agent pursuant to 28 U.S.C. § 156(c) and
            (ii) as administrative advisor pursuant to section 327(a) of the Bankruptcy Code for all Services
            that fall outside the scope of 28 U.S.C. § 156(c). The form and substance of such applications
            and any order approving them shall be reasonably acceptable to Prime Clerk.
        (b) If any Company chapter 11 case converts to a case under chapter 7 of the Bankruptcy Code,
            Prime Clerk will continue to be paid for Services pursuant to 28 U.S.C. § 156(c) and the terms
            hereunder.

4. Confidentiality

        (a) The Company and Prime Clerk agree to keep confidential all non-public records, systems,
            procedures, software and other information received from the other party in connection with
            the Services provided hereunder; provided, however, that if any such information was
            publicly available, already in the party’s possession or known to it, independently developed,
            lawfully obtained from a third party or required to be disclosed by law, then a party shall bear
            no responsibility for publicly disclosing such information.
        (b) If either party reasonably believes that it is required to disclose any confidential information
            pursuant to an order from a governmental authority, such party shall provide written notice
            to the other party promptly after receiving such order, to allow the other party sufficient time
            to seek any remedy available under applicable law to prevent disclosure of the information.

5. Property Rights

Prime Clerk reserves all property rights in and to all materials, concepts, creations, inventions, works of
authorship, improvements, designs, innovations, ideas, discoveries, know-how, techniques, programs,
systems, specifications, applications, processes, routines, manuals, documentation and any other


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information or property (collectively, “Property”) furnished by Prime Clerk for itself or for use by the
Company hereunder. Fees and expenses paid by the Company do not vest in the Company any rights in
such Property. Such Property is only being made available for the Company’s use during and in
connection with the Services provided by Prime Clerk hereunder.

6. Bank Accounts

At the request of the Company or the Company Parties, Prime Clerk shall be authorized to establish
accounts with financial institutions in the name of and as agent for the Company to facilitate distributions
pursuant to a chapter 11 plan or other transaction. To the extent that certain financial products are
provided to the Company pursuant to Prime Clerk’s agreement with financial institutions, Prime Clerk may
receive compensation from such institutions for the services Prime Clerk provides pursuant to such
agreement.

7. Term and Termination

        (a) This Agreement shall remain in effect until terminated by either party: (i) on 30 days’ prior
            written notice to the other party; or (ii) immediately upon written notice for Cause (as
            defined herein). “Cause” means (i) gross negligence or willful misconduct of Prime Clerk that
            causes material harm to the Company’s restructuring under chapter 11 of the Bankruptcy
            Code, (ii) the failure of the Company to pay Prime Clerk invoices for more than 60 days from
            the date of invoice or (iii) the accrual of invoices or unpaid Services in excess of the advance
            held by Prime Clerk where Prime Clerk reasonably believes it will not be paid.
        (b) If this Agreement is terminated after Prime Clerk is retained pursuant to Bankruptcy Court
            order, the Company promptly shall seek entry of a Bankruptcy Court order discharging Prime
            Clerk of its duties under such retention, which order shall be in form and substance
            reasonably acceptable to Prime Clerk.
        (c) If this Agreement is terminated, the Company shall remain liable for all amounts then accrued
            and/or due and owing to Prime Clerk hereunder.
        (d) If this Agreement is terminated, Prime Clerk shall coordinate with the Company and, to the
            extent applicable, the clerk of the Bankruptcy Court, to maintain an orderly transfer of record
            keeping functions, and Prime Clerk shall provide the necessary staff, services and assistance
            required for such an orderly transfer. The Company agrees to pay for such Services pursuant
            to the Rate Structure.

8. No Representations or Warranties

Prime Clerk makes no representations or warranties, express or implied, including, without limitation, any
express or implied warranty of merchantability, fitness or adequacy for a particular purpose or use,
quality, productiveness or capacity.

9. Indemnification

        (a) To the fullest extent permitted by applicable law, the Company shall indemnify and hold
            harmless Prime Clerk and its members, directors, officers, employees, representatives,
            affiliates, consultants, subcontractors and agents (collectively, the “Indemnified Parties”)
            from and against any and all losses, claims, damages, judgments, liabilities and expenses,


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            whether direct or indirect (including, without limitation, counsel fees and expenses)
            (collectively, “Losses”) resulting from, arising out of or related to Prime Clerk’s performance
            hereunder. Without limiting the generality of the foregoing, Losses include any liabilities
            resulting from claims by any third parties against any Indemnified Party.
        (b) Prime Clerk and the Company shall notify each other in writing promptly upon the assertion,
            threat or commencement of any claim, action, investigation or proceeding that either party
            becomes aware of with respect to the Services provided hereunder.
        (c) The Company’s indemnification of Prime Clerk hereunder shall exclude Losses resulting from
            Prime Clerk’s gross negligence or willful misconduct.
        (d) The Company’s indemnification obligations hereunder shall survive the termination of this
            Agreement.

10. Limitations of Liability

Except as expressly provided herein, Prime Clerk’s liability to the Company for any Losses, unless due to
Prime Clerk’s gross negligence or willful misconduct, shall be limited to the total amount paid by the
Company for the portion of the particular work that gave rise to the alleged Loss. In no event shall Prime
Clerk’s liability to the Company for any Losses arising out of this Agreement exceed the total amount
actually paid to Prime Clerk for Services provided hereunder. In no event shall Prime Clerk be liable for
any indirect, special or consequential damages (such as loss of anticipated profits or other economic loss)
in connection with or arising out of the Services provided hereunder.

11. Company Data

        (a) The Company is responsible for, and Prime Clerk does not verify, the accuracy of the
            programs, data and other information it or any Company Party submits for processing to
            Prime Clerk and for the output of such information, including, without limitation, with respect
            to preparation of statements of financial affairs and schedules of assets and liabilities
            (collectively, “SOFAs and Schedules”). Prime Clerk bears no responsibility for the accuracy
            and content of SOFAs and Schedules, and the Company is deemed hereunder to have
            approved and reviewed all SOFAs and Schedules filed on its behalf.
        (b) The Company agrees, represents and warrants to Prime Clerk that before delivery of any
            information to Prime Clerk: (i) the Company has full authority to deliver such information to
            Prime Clerk; and (ii) Prime Clerk is authorized to use such information to perform Services
            hereunder.
        (c) Any data, storage media, programs or other materials furnished to Prime Clerk by the
            Company may be retained by Prime Clerk until the Services provided hereunder are paid in
            full. The Company shall remain liable for all fees and expenses incurred by Prime Clerk under
            this Agreement as a result of data, storage media or other materials maintained, stored or
            disposed of by Prime Clerk. Any such disposal shall be in a manner requested by or
            acceptable to the Company; provided that if the Company has not utilized Prime Clerk’s
            Services for a period of 90 days or more, Prime Clerk may dispose of any such materials, and
            be reimbursed by the Company for the expense of such disposition, after giving the Company
            30 days’ notice. The Company agrees to initiate and maintain backup files that would allow
            the Company to regenerate or duplicate all programs, data or information provided by the
            Company to Prime Clerk.

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        (d) If Prime Clerk is retained pursuant to Bankruptcy Court order, disposal of any Company data,
            storage media or other materials shall comply with any applicable court orders and rules or
            clerk’s office instructions.

12. Non-Solicitation

The Company agrees that neither it nor any of its subsidiaries or affiliates shall directly or indirectly solicit
for employment, employ or otherwise retain as employees, consultants or otherwise, any employees of
Prime Clerk during the term of this Agreement and for a period of 12 months after termination thereof
unless Prime Clerk provides prior written consent to such solicitation or retention.

13. Force Majeure

Whenever performance by Prime Clerk of any of its obligations hereunder is materially prevented or
impacted by reason of any act of God, government requirement, strike, lock-out or other industrial or
transportation disturbance, fire, flood, epidemic, lack of materials, law, regulation or ordinance, act of
terrorism, war or war condition, pandemic (including viral outbreak such as COVID-19), or by reason of
any other matter beyond Prime Clerk’s reasonable control, then such performance shall be excused, and
this Agreement shall be deemed suspended during the continuation of such prevention and for a
reasonable time thereafter.

14. Choice of Law

The validity, enforceability and performance of this Agreement shall be governed by and construed in
accordance with the laws of the State of New York.

15. Arbitration

Any dispute arising out of or relating to this Agreement or the breach thereof shall be finally resolved by
arbitration administered by the American Arbitration Association under its Commercial Arbitration Rules,
and judgment upon the award rendered by the arbitrators may be entered in any court having
jurisdiction. There shall be three arbitrators named in accordance with such rules. The arbitration shall
be conducted in the English language in New York, New York in accordance with the United States
Arbitration Act.

16. Integration; Severability; Modifications; Assignment

        (a) Each party acknowledges that it has read this Agreement, understands it and agrees to be
            bound by its terms and further agrees that it is the complete and exclusive statement of the
            agreement between the parties, which supersedes and merges all prior proposals,
            understandings, agreements and communications between the parties relating to the subject
            matter hereof.
        (b) If any provision of this Agreement shall be held to be invalid, illegal or unenforceable, the
            validity, legality and enforceability of the remaining provisions shall in no way be affected or
            impaired thereby.
        (c) This Agreement may be modified only by a writing duly executed by an authorized
            representative of the Company and an officer of Prime Clerk.




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        (d) This Agreement and the rights and duties hereunder shall not be assignable by the parties
            hereto except upon written consent of the other; provided, however, that Prime Clerk may
            assign this Agreement to a wholly-owned subsidiary or affiliate without the Company’s
            consent.

17. Effectiveness of Counterparts

This Agreement may be executed in two or more counterparts, each of which will be deemed an original,
but all of which shall constitute one and the same agreement. This Agreement will become effective
when one or more counterparts have been signed by each of the parties and delivered to the other party,
which delivery may be made by exchange of copies of the signature page by fax or email.

18. Notices

All notices and requests in connection with this Agreement shall be sufficiently given or made if given or
made in writing via hand delivery, overnight courier, U.S. Mail (postage prepaid) or email, and addressed
as follows:

        If to Prime Clerk:      Prime Clerk LLC
                                One Grand Central Place
                                60 East 42nd Street, Suite 1440
                                New York, NY 10165
                                Attn: Shai Waisman
                                Tel: (212) 257-5450
                                Email: swaisman@primeclerk.com

        If to the Company:      The Hertz Corporation
                                8501 Williams Road
                                Estero, FL 33928
                                Attn: M David Galainena
                                Tel: 239-301-7601
                                Email: dave.galainena@hertz.com

        With a copy to:         White & Case LLP
                                555 South Flower Street, Suite 2700
                                Los Angeles, CA 90071-2433
                                Attn: Ronald Gorsich
                                Tel: (213) 620-7769
                                Email: rgorsich@whitecase.com


                                         [Signature page follows]




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                                                                                        0
                                                                  Prime Clerk I D�;;&PHELPS
IN WITNESS WHEREOF, the parties hereto have executed this Agreement effective as of the date first
above written.

 Prime Clerk LLC


      Shira Weiner
      General Counsel




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RATES             Claim and Noticing Rates

                  TITLE                                                                                  HOURLY RATE
Quality.          Analyst                                                                                $30 - $50
Partnership.      The Analyst processes incoming proofs of claim, ballots and return mail, and
                  physically executes outgoing mailings with adherence to strict quality control
Expertise.
                  standards.
Innovation.
                  Technology Consultant                                                                  $35 - $95
                  The Technology Consultant provides database support for complex reporting
                  requests and administers complicated variable data mailings.


                  Consultant/Senior Consultant                                                           $65 - $165
                  The Consultant is the day-to-day contact for mailings, updates the case website,
                  prepares and executes affidavits of service, responds to creditor inquiries and
                  maintains the official claim register, including processing of claims objections and
                  transfers. Prime Clerk Consultants have between three and five years of
                  experience.


                  The Senior Consultant directs the data collection process for the master mailing
                  list and Schedules & SOFA, oversees all mailings, performs quality control
                  checks on all claims and ballots, and generates claim and ballot reports. Prime
                  Clerk’s Senior Consultants average over five years of experience.


                  Director                                                                               $175 - $195
                  The Director is the lead contact for the company, counsel and advisors on the
                  case engagement and oversees all aspects of the bankruptcy administration,
                  including managing the internal case team. In many instances, the executives of
                  Prime Clerk will serve in this role at this rate. Prime Clerk’s Directors have over
                  ten years of experience and are typically former restructuring attorneys or
                  paralegals.


                  Chief Operating Officer and Executive Vice President                                   No charge
                  Michael Frishberg, Prime Clerk’s COO, and Ben Schrag, Prime Clerk’s Executive
                  Vice President, both former restructuring attorneys with collectively over twenty
                  five years of experience, will add an additional supervisory layer to this matter at
                  no charge.
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RATES             Solicitation, Balloting and Tabulation Rates
                  TITLE                                                                                   HOURLY RATE
Quality.          Solicitation Consultant                                                                 $190
Partnership.      The Solicitation Consultant reviews, tabulates and audits ballots, and executes
                  plan solicitation and other public securities mailings. In addition, the Solicitation
Expertise.
                  Consultant prepares customized reports relating to voting and other corporate
Innovation.       events (such as exchange offers and rights subscriptions) and interfaces with
                  banks, brokers, nominees, depositories and their agents regarding solicitations
                  and other communications. Solicitation Consultants average over five years of
                  experience.


                  Director of Solicitation                                                                $210
                  The Director of Solicitation is the lead consultant in the plan solicitation process.
                  The Director oversees and coordinates soliciting creditor votes on a plan of
                  reorganization and will attest to solicitation processes and results. The Director
                  also advises on public securities noticing and related actions, including voting,
                  exchange offers, treatment elections, rights subscriptions and distributions and
                  coordinates with banks, brokers, nominees, their agents and depositories to
                  ensure the smooth execution of these processes. Prime Clerk’s Director of
                  Solicitation has over 15 years of experience and is a former restructuring attorney.


                  Printing and Noticing Services

                  Printing                                                                                $0.10 per page

                  Customization/Envelope Printing                                                         $0.05 each

                  Document folding and inserting                                                          No charge

                  Postage/Overnight Delivery                                                              Preferred Rates

                  Public Securities Events                                                                Varies by Event

                  E-mail Noticing                                                                         No charge

                  Fax Noticing                                                                            $0.10 per page

                  Proof of Claim Acknowledgment Card                                                      $0.10 per card

                  Envelopes                                                                               Varies by Size


                  Newspaper and Legal Notice Publishing

                  Coordinate and publish legal notices                                                    Available on
                                                                                                          request
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                  Case Website
RATES             Case Website setup                                               No charge

Quality.          Case Website hosting                                             No charge

Partnership.      Update case docket and claims register                           No charge

Expertise.
                  Client Access
Innovation.
                  Access to secure client login (unlimited users)                  No charge

                  Client customizable reports on demand or via scheduled email     No charge
                  delivery (unlimited quantity)

                  Real time dashboard analytics measuring claim and ballot         No charge
                  information and document processing status


                  Data Administration and Management

                  Inputting proofs of claim and ballots                            Standard hourly rates
                                                                                   (no per claim or
                                                                                   ballot charge)

                  Electronic Imaging                                               $0.12 per image

                  Data Storage, maintenance and security                           $0.10 per record
                                                                                   per month

                  Virtual Data Rooms                                               Available on request


                  On-line Claim Filing Services

                  On-line claim filing                                             No charge

                  Call Center Services
                  Case-specific voice-mail box                                     No charge

                  Interactive Voice Response (“IVR”)                               No charge

                  Monthly maintenance                                              No charge

                  Call center personnel                                            Standard hourly rates

                  Live chat                                                        Standard hourly rates


                  Disbursement Services
                  Check issuance and/or Form 1099                                  Available on request

                  W-9 mailing and maintenance of TIN database                      Standard hourly rates
